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                                                                                 2021 Aug-02 AM 10:42
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

                                               )
JOHN DOE,                                      ) CIVIL ACTION NO.
                                               ) 2:21-CV-00871-ACA
                           Plaintiff,          )
                                               )
       v.                                      )
                                               )
SAMFORD UNIVERSITY; MALLORY                    )
KRUNTORAD; and TIM S. HEBSON,                  )
Ed.D.,                                         )
                                               )
                           Defendants.

                              NOTICE OF APPEAL

      Notice is hereby given that John Doe, Plaintiff in the above-named case,

hereby appeals to the United States Court of Appeals for the Eleventh Circuit from

an order (Doc. No. 27) entered in this action on the 30th of July 2021.

                                        Respectfully Submitted,

                                        /s/ Kristina W. Supler
                                        Kristina W. Supler

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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing Notice of Appeal was filed

electronically on August 2, 2021. Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system. Parties not receiving service

through the Court’s electronic filing system will be served by regular U.S. mail.

Parties may access this filing through the Court’s system.



                                       /s/ Kristina W. Supler
                                       Kristina W. Supler




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